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:.,:M:w£:*.w:;»:::_.~»,:;::;;:::~:_::~;:p

d¢lvwdlm"m.r,mm.@\dWN.hOx~ TMUD.UNHOO_UN MUmm

QUWBKGR UP MJMQZ§
Z,BOI.¢.». urka x DM.FNW§..W»P.FQ
KMOZMM DP ZKJFME
d MU HBD BHXHZ

C.m.\m~.n-$wnw m:w.

mEE=Eu we EE@@ §§
. h “ . §§
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93 m M\ ~Em

       

252 waco mm 305 cms/§ ,

§§ wv@§ m§vm@§@@ w .

ow¢.©o w 3 §
m`<$Cx >_Z:o_ §§M¢W§v \»,\
§§“§1 ihmwwnd»,\éw armme

n§§~»w§ R.MWWM\EMRK~
.w@

§§ 33

 

NOUNUHOOOU

iii

w..... ...x. "\»......"

.\.. v. .l.. ...~. ..... .r..

waZ_mDm J<_U_LH_O
.l\.\.\.\\\\\\l

FOOON UD .ZO._..UZ_IW<>>

.>>.Z ,NDZM>< ZO_.FD._._PWZOU mmm
UWDOIPEDOU .m.D
<_m_>_DJOU LO ._.U_N_PW_D m:x_\r EOL
._.EDOU \_.U_~m\_.w_D wm.r<.rm DN.__._ZD

NU_n_n_O m.v_mm_JU

 

